                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                     8:23MJ432

        vs.                                           ORDER ISSUED PURSUANT TO THE
                                                       DUE PROCESS PROTECTION ACT

JOHN C. SHORES, JR.,

                       Defendant.




       This matter came before the Court for Initial Appearance on a Complaint. The government
was represented by Kelli L. Ceraolo. The defendant was present and represented by Karen M.
Shanahan.
       IT IS ORDERED:
       Pursuant to the Due Process Protections Act, the Court confirms the United States'
obligation to disclose to the defendant all exculpatory evidence as required by Brady v. Maryland,
373 U.S. 83 (1963) and its progeny, and orders the United States to do so. Failure to disclose
exculpatory evidence in a timely manner may result in consequences, including, but not limited
to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
or sanctions by the Court.

       DATED: August 11, 2023.


                                                            BY THE COURT:

                                                            s/ Michael D. Nelson
                                                            United States Magistrate Judge
